            Case 24-10667-1                    Doc 1           Filed 06/13/24 Entered 06/13/24 15:17:14                              Desc Main
                                                                Document     Page 1 of 7
  Fill in this information to identify the ease:


  United States Bankruptcy Court for the:


                             District of
                                           (Slate)

  Case number (it known):                                        Chapter
                                                                                                                                         Q Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-lndividuals Filing forBankruptcy                                                                                                  06/22
If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, Write the debtor's name arid the case
number (if known). For more Information, a separate document, Instructions for Bankruptcy Forms for Non-lndMduals, Is available.




  t.   Debtor’s name                             Dancing Deer Corporation



 2.    All other names debtor used
       in the last 8 years

       Include any assumed names,
       trade names, and doing business
       as names




 3.    Debtor's federal Employer
                                                83           -2687                58 4
       Identification Number (EIN)



 4.    Debtor's address                          Principal place of business                                  Mailing address, if different from principal place
                                                                                                              of business

                                                     22 Hamilton Way
                                                Number          Street                                         Number      Street



                                                                                                              P.O. Box

                                                     Castleton             V
                                                                                     NY     12033
                                                City                              Slate      ZIP Code         City                          State        ZIP Code


                                                                                                               Location of principal assets, if different from
                                                                                                              principal place Of business
                                                            SSe4ae("
                                                County
                                                                                                              Number       Street




                                                                                                              City                          Stale        ZIPCode




 5.    Debtor’s website (URL)




Official Form 201                                      Voluntary Petition for Non-lndivlduals Filing for Bankruptcy                                 page 1
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Debtor          Dancing Deer Corporation
                                                                                                 Case number (Ktrowni
               Nwne




 e. Type of debtor                        22 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:

                                          A. Check one:
 7.   Describe debtor's business
                                            Health Care Business (as defined in 1 1 U.S.C. § 101(27A))
                                          Q Single Asset Real Estate (as defined In 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(63A))
                                              Commodity Broker (as defined In 1 1 U.S.C. § 101(G))
                                          O Clearing Bank (as defined In 11 U.S.C. § 781(3))
                                          SI None of the above


                                          B. Check ell that applyi.

                                             Tax-exempt entity (as described in 26 U.S.C. § 501 )
                                             Investment company, including hedge fund or pooled Investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                             Investment advisor (as defined In 15 U.S.C. § 80b-2(a)(1 1))

                                                       gfeant        „ .                                        -      ..
                                          C. NAICS (North American Industry Classification System) 4-dlglt code that best describes debtor. See
                                              httD://www.uscourt$.qov/four-diait-natlonal-as$oclatlon-nalcs-codes .

                                             JL.2 jL.4

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                          £3 Chapter 1 1 . Check all that apply'.
      A debtor who Is a "small business
      debtor" must check the first sub                          The debtor Is a small business debtor as defined in 11 U.S.C. § 101(51D),.and Its
      box. A debtor as defined In                               aggregate noncontingent liquidated debts (excluding debts owed to Insiders or
      § 1182(1) who .elects to proceed                          affiliates) are less than $3,024,725. If this sub-box Is selected, attach (he most
      under subchapter V of chapter 1 1                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or If any of these documents do not exist, follow the procedure In
      "small business debtor") must                             11 U.S.C. § 1116(1)(B).
      check thesecond sub-box.
                                                                ..The debtor is a debtor as defined In 11 U.S.C. § 1182(1), Its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and It chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box Is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal Income tax return, or If
                                                                any of these documents do not exist, follow the procedure in 11 0,8.0.
                                                                §1116(1)(B).

                                                                A plan Is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, In accordance with 11 U.S.C. § 1 126(b).

                                                                The debtor ls required to file periodic reports (for example, 1 0K and 10Q) with.the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition fbrNon-lhdlvIduals Filing
                                                                for Bankruptcy under Chapter 1 1 (Official Form 201 A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                          chaj)terJ2


Official Form 201                            Voluntary Petition for Non-lndivlduals Filing for Bankruptcy                                   page 2
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                                                         Document     Page 3 of 7 I
Debtor            Dancing Deer Corporation
                                                                                                 Case number vtkrmrtii
               Nanw



 9.   Were prior bankruptcy cases        KI No'
      filed by or against the debtor
      within the last 8 years?              Yes. District                              1 When                        Case number
                                                                                                  MM / DD/YYYY
      If more than 2 cases, attach a
      separate list.                                District                              When                       Case number
                                                                                                  MM / DD/YYYY


 10^ Are any bankruptcy cases
                                         •J No
     pending or being filed by a
     business partner or an              $3*Yes. Debtor                                                              Relationship
     affiliate of the debtor?
                                                    District                                                         When
      List all cases. If more than 1 ,                                                                                               MM   /   DD     /YYYY
      attach a separate list.                       Case number, if known



 tt. Why Is the case filed In this       Check all that apply:
      district?
                                         Q Debtor has had Its domicile, principal place of business, or principal assets In this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         _A bankruptcy case concerning debtor's affiliate, general partner, or partnership Is pending In this district.

 12. Does the debtor own or have           No
     possession of any real
                                         O Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
      that heeds Immediate                        Why does the property need Immediate attention? (Chedr all that apply.)
      attention?
                                                        It poses or is alleged to pose a threat of Imminent and Identifiable hazard to public health or safety^
                                                        What is the hazard?

                                                  D It needs to be physically secured or protected from the weather.

                                                  KI It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                        Other                              :



                                                  Where is the property? 22 Hamilton Way
                                                                              Number           Street




                                                                              Castleton                                             NY        12033
                                                                              City                                                  State ZIP Code



                                                  Is the property Insured?

                                                        No
                                                        Yes. Insurance agency _ American General


                                                               Contact name


                                                               Phone




             Statistical and administrative Information




Official Form 201                          Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                            pages
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Debtor         Dancing Deer Corporation
                                                                                                  Case number (/Anown).
              N»n»




 13. Debtor’s estimation of               Check, one:
     available funds
                                          S Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                                  1-49                             1,000-5,000                                 25,001-50,000
 14. Estimated number of
                                              50-99                                5,001-10,000                                50,001-100,000
     creditors
                                              100-199                              10,001-25,000                               More than 100,000
                                              200-999


 15. Estimated assets
                                              $0450.000                         ^$1,000,001410 million                        $500,000,00141 billion
                                              $50,0014100,000                      $10,000, 001450 million                    $1,000,000,001410 billion
                                              $100,001-$500,000 .               ' $50,000,0014100 million                     $10,000,000,001450 billion
                                              $500,00141 million                   $100,000,0014500 million                 Q More than $50 billion

                                              $0450,000                         ©$1,000.001410 million                        $500,000,001-$1 billion
 16. Estimated liabilities
                                              $50,0014100,000                   i J $10,000,001450 million                     $1,000,000,001410 billion
                                              $100,0014500,000                   O $50,000,0014100 million                    $10,000,000,001450 billion
                                              $500,00141 million                   $100,000.0014500 million                   .More than $50 billion



           ..Request for Relief, Declaration, and Signatures



 WARNING - Bankruptcy fraud is a serious crime. Making a false statement In connection with a bankruptcy case can result -in-fines up to
           $500,000 or Imprisonment for up to 20 years, or both. 18U.S.C. §§ 152, 1341, 1519, and 3571.



 17. Declaration and signature of                 The debtor requests relief In accordance with the chapter of title 1 1 , United States Code, specified in this
     authorized representative of
                                                  petition.
     debtor

                                                  I have been authorized to file this petition on behalf of the debtor.


                                                  I have examined the Information In this petition and have a reasonable belief that the information is true and
                                                  correct.



                                          I declare under penalty of perjury that the foregoing Is true and correct.


                                              Executed on      05 1 09 / 2024
                                                               MM   /DD/YYYY

                                          X  !.                                                              Dan Ratner
                                              Signature of authorized representative of debtor               Printed name


                                              Title President




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Debtor        Dancing Dear Corporation
                                                                                           Case number wiwnmi
             Hezn»




 18. Signature of attorney
                                                                                                         Date                &c/ 24^
                                             Signature of attorney for debtor                                        MM     /DD /YYYY




                                             V^4-e< A - VasT-cyo
                                            Printed name


                                            Firm name
                                                                     Il jt                      i. (L»
                                                                                            I
                                             5H                                                                                                  i
                                            Number          Street               '

                                            n
                                            city
                                                                                                                uq             12-2-0-?
                                                                                                            State           ZIP Code


                                             5tr-HU>2--5Uo(                                                                   e_@ ixala u> - c
                                            Contact phone                                                   Email address




                                            S'oG>'Zltp                                                   Kiv/
                                            Bar number                                                     Slaie




                             i

                                                                                                                                                 i




Official Form 201                          Voluntary Petition for Non-lndlvlduals Filing for Bankruptcy                                 page 5
                                                               1
             Case 24-10667-1                Doc 1         Filed 06/13/24 Entered 06/13/24 15:17:14                                    Desc Main
                                                           Document     Page 6 of 7
Fill in tills information to identify the case and this filing:



 Debtor Name Dancing Deer Corporation
                                                                     District of
 United States Bankruptcy Court for the:
                                                                                   (Stalo)

 Case number (If known)-.




Official Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors
                                                                                                                                                               12/15

                                                                                     as a corporation or partnership, must sign and submit
An Individual who is authorized to act on behalf of a non-lndlvldual debtor, such
                                                                            that requires  a declaration that is not Included in the document,
this form for the schedules of assets and liabilities, any other document
                                           . This  form must  state the individual's position or relationship to the debtor, the Identity of the
and any amendments of those documents
document, and the date. Bankruptcy Rules 1008 and 9011.
                                                                                        property, or obtaining money or properly by fraud In
WARNING - Bankruptcy fraud Is a serious crime. Making a false statement, concealing
                                                                                   nt for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
connection with a bankruptcy case can result In fines up to $500,000 or Imprisonme
1519, and 3571.




             Declaration and signature




                                                                                                    or an authorized agent of the partnership; or
           I am the president, another officer, or an authorized agent of the corporation; a member
           another Individual serving as a representative of the debtor in this case.
                                                                                                 reasonable belief that the information is true and correct;           i
           I have examined the Information in the documents checked below and I have a



           Q Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
           Q Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                            f

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

           Q Summary of Assets and Liabilities for Non-lndlviduals (Official Form 206Sum)

                 Amended Schedule

                                                                                                              Are Not               Insiders (Official Form 204)
            S3 Chapter 1 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and

            Q Other document that requires a declaration.




            I declare under penalty of perjury that the foregoing is true and correct.


                                                                X
            Executed on Q4 / 25 / 2024
                            MM/DD/YYYY                              Signature of individual signing on behalf of debtor




                                                                     Dan Ratner
                                                                    Printed name


                                                                     President
                                                                     Position or relationship to debtor




  Official Form 202                            Declaration Under Penalty of Perjury for Non-lndlvldual Debtors
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Form20| Supplement




Item #10 Affiliates Filing




Cell-nique Corporation (Parent)


Hudson River Foods Corporation (100% Subsidiary)


Hodgson Mill Corporation (100% Subsidiary)


Dancing Deer Corporation (100% Subsidiary)
